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                                    Instead ofpro-poor development,
                                        Anaola~ political economy is
                                      characterised by a development
                                          model that is controlled by
                                           a narrow state-based elite
                                             and redistrroutes wealth
                                              upwards and outwards.




                                                                     .. ... . ..   .
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SMALL AND MEDIUM ENTERPRISES              INFRASTRUCTURE INVESTMENTS

Beyond this, the government should        Instead of direct investments in           allocated among projects and how
facilitate employment by supporting       the provision of social services and       much money has been spent so far.
micro, small and medium-sized             lines of credit for the development of     What's more, since September 2010,
enterprises (SMEs). Earlier in 2012,      Angola's non-oil private sector, the       Sonangol's housing arm, Sonip, has
the government announced that it          government has largely utilised oil        succeeded the GRN in relation to
would invest US$1.8 billion - financed    revenues to fund large infrastructure      the construction of social housing
through the state budget, national        projects, including railway lines,         and infrastructure. However, the
development fund and others - to help     airports, road construction and            transfer of these GRN activities was
create SMEs, develop existing ones        housing. But the country's lax             not preceded by a clarification of
and reduce the economy's dependence       procurement policies have led to           finances, nor have GRN competences
on the state. The government is the       suspicions that significant leakage        returned to appropriate ministries.
country's biggest employer and support    and corruption occur through these
for SMEs, particularly through credit     large-scale projects. As stated            Interestingly, in March 2011
extension, would go a long way towards    previously, these projects have been       the government established the
enabling sustainable development in       administered through the National          Petroleum Development Fund by
Angola. The Catholic University of        Reconstruction Office (GRN),               Presidential Decree 48/11. This new
Angola's socio-economic research          which was created to manage large          fund, financed from oil revenues, is
centre, CEIC, records unemployment        investment projects, and in direct         expected to promote the development
at around 25 percent, but notes more      response to political rivalries within     of energy and water projects. The
than half of the population relies        the state 56• The GRN is exclusively       government, for example, is expecting
on the informal sector to generate        accountable to the president and           to invest around US$20 billion in the




                       The President's son and nephew were appointed
                           to the fund's board, and the presidential
                             economic advisor will head the fund.


income, and in rural areas most remain    does not operate within the formal         construction of new hydroelectric
dependent on subsistence farming. 54      structures of government. The GRN          dams over the next five years. The
Beyond human capital and social           was headed by the president's top          fund has a legal status, owns property
capital constraints, poor entrepreneurs   military advisor and Head of the           and assets and has administrative
in Angola are financially constrained.    Military House. The GRN managed a          and financial autonomy. It is seen as a
A 2008 survey commissioned by the         2005 US$2.9 billion oil-backed line of     public relations initiative in response
Angolan Central Bank and UNDP             credit from the China International        to criticisms that the oil sector lacks
found that 'only 0.4 percent of micro,    Fund for infrastructure projects,          transparency and revenues are not
small and medium-sized enterprises        which were to be carried out by            invested on poverty alleviation. The
in Angola have obtained credit' and       Chinese construction companies.            President's son and nephew were
that 'most banks limit their lending to   Although GRN's financial flows             appointed to the fund's board, and the
a select group of customers whom they     should officially pass through the         presidential economic advisor will
know and trust', while 'most businesses   Ministry of Finance's accounts, 57 it is   head the fund.
and households continue to lack access    unclear how much money is directly
to financing for investment'. 55          managed by the GRN, how funds are


•   Angolo"r oil Industry operations
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POLICIES AND PRACTICES
OFSONANGOL
Behind the presidency, Sonangol is the most economically and politically important
institution in Angola. Sonangol is at the centre of the country's financial strategy.
Billions of dollars in oil rents pass through Sonangol and are reinvested and
doled out to feed the vast patronage system that helps the presidency and party
maintain political power.

Sociedade Nacional de Combustiveis de Angola (Sonangol E.P.) was established in
1976 and is the largest company in Angola. Its roles are various. It is the country's sole
concessionaire, and the lead negotiator for every oil exploration and production license.
The company also produces petroleum, and has exploration and production capacity.
Sonangol funds its share of production through oil-backed borrowing. It collects oil
revenues and sells oil on behalf ofthe state. It regulates the oil industry. But Sonangol
reaches beyond oil, with a diverse portfolio, under the banner of Grupo Sonangol, which
consists of dozens of subsidiaries that have Sonangol as their primary client. Sonangol
has been acclaimed as the country's most competent institution and, through strategic
global investments, it is a primary vehicle used to control Angola's image abroad. 58
Sonangol reported US$33.78 billion in sales and US$3.3 billion in net profits for 2011.59

Sonangol's current structure and control of oil rents provide major vehicles for
potential mismanagement of state funds, including: 60


• Like other oil companies operating in         treasury. These activities, for example,       in 2006 Petrobras paid US$50 million
  Angola, Sonangol is liable for taxes.         include free supply of fuel to certain         for oil block 26, while Petrobras paid
  The core of its assets consists of the        agencies. Yet these QFAs are not fully         US$1.l billion for oil block 18 and
  equity shares in the oil concessions          included in the government budget,             Total also paid US$1.1 billion for oil
  that the government has entrusted             nor are they explicit in Sonangol's            block 17.61 These funds should also be
  to it - meaning, its partnership in oil       financial statements. For example, the         reverted to the national treasury.
  blocks. These assets generate a net           2010 budget includes US$9.8 billion to
  income that, in theory, should go to the      cover the 'general subsidisation and         • Oil companies, as per their PSAs, also
  State as the exclusive shareholder in         free supply of retail petroleum products       pay a contribution to Sonangol for
  Sonangol, but in practice, these funds        to select agencies'. It is these quasi-        social projects. The amount of these
  are largely reinvested in Sonangol and        fiscal expenditures that account for the       is stipulated each contract and is
  its subsidiaries. In 2009, for example,       missing US$32billion, as reported by           also largely undisclosed. There is no
  these funds amounted to US$2.8 billion.       the IMF in its December 2011 report.           public information about what types of
                                                                                               social activities oil companies finance
• As concessionaire, or government            • Sonangol receives signature bonuses -          under PSAs or their selection criteria.
  fiscal agent, Sonangol signs the              as mandated by the Petroleum Law and           Sonangol dictates the use of these
  production sharing agreements with            PSAs - paid by foreign oil companies           funds in dialogue with the operator
  foreign oil operators in Angola and           on the award of a concession. Signature        of each block and Sonangol controls
  receives a share of the profits from that     bonuses are standard practice around           the use of the funds. Also, as per the
  oil, which are then transferred to the        the world. They are leveraged during           Petroleum Activities Law, a portion of
  national treasury.                            the public bidding process for granting        the aforementioned signature bonus
                                                an oil concession and weighed against          is also earmarked for social purposes.
• Sonangol is tasked with an array of           other offers. The amounts of these one-        There is little information on how the
  quasi-fiscal activities (QFAs), which         time payments are largely undisclosed,         funds for social purposes are used,
  are paid from the aforementioned              but can range in the billions. For             and, again, Sonangol has the final
  oil profits that are transferred to the       example, industry media reported that          decision on the use of these funds. 62


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And it does not end there. Sonangol is currently at the forefront of several key sectors of the economy,
and its interests are expanding. The taxes Sonangol pays to the state are largely reinvested in Sonan-
gol, its subsidiaries and other projects - which are growing and diversifying. On its website, Sonangol
claims to have approximately 30 subsidiaries. Sonangol's Sonagas, for example, is developing Angola's
natural gas, while Sonangol Shipping and Sonangol Distribuidora transport crude oil and supply
downstream petroleum products to domestic markets respectively. Sonangol is involved in housing
via Sonip, which is currently overseeing development ofthe Special Economic Zone outside Luanda
as well as several housing projects in Lobito and others. Sonip's main partner is China's CITIC63
construction company.64 Sonangol will be involved in manufacturing, via the newly created Sonan-
gol Investimentos Industriais, particularly in the economic zone of Luanda Bengo. Sonangol is also
involved in telecommunications via MSTelcom, in air transportation via SonAir65, and in health care
via Clinica Girassol. Beyond these, Sonangol has a dozen other oil-related subsidiaries and projects.66

Sonangol has also been acutely involved in the banking sector - and some Angolan banks were
first established with Sonangol as the main shareholder, such as the Banco Africano de Investi-
mento (BAI). BAI currently ranks as Angola's top bank with assets ofUS$7 billion.67 In 2010, it
was the subject of a money-laundering inquiry by a US Senate panel. The panel analysed the ties
between the multinational bank, HSBC, and Angola, alleging that HSBC provided US bank-
ing services to politically connected officials of Sonangol through BAI without designating the
transactions as potentially high risk. Sonangol also has an indirect share of the Portuguese oil
company, Galp Energia, through a joint venture with the president's eldest daughter and BAI.
Sonangol is also a major shareholder in Millennium BCP, Portugal's biggest private bank.

Furthermore, Sonangol's reach outside Angola is growing. Sonangol maintains Sonangol USA Com-
pany (for US markets), Sonangol Limited (for UK markets), and China Sonangol. Sonangol has opera-
tions, exploration ventures and equity in oil projects in Cape Verde, Congo-Brazzaville, Sao Tome and
Principe,68 Brazil, Cuba, Venezuela and the Gulfof Mexico. The company withdrew from Iraq last
December and recently announced withdrawal from Iran because of international sanctions.

Set up in Hong Kong in 2004, China Sonangol is a key joint venture for the company. Sonangol
maintains a 30 percent share, while private Hong Kong investors own the remaining 70 percent.
China Sonangol is part of what a US agency has dubbed 'The 88 Queensway Group' - a series of
Chinese firms operating in Angola and elsewhere with headquarters in the same Hong Kong ad-
dress, which includes China International Fund.69 Until September 2011, the chairman of Sonangol
also served as chairman of China Sonangol. China Sonangol is shrouded in secrecy and has been
at the centre of global investigations.70 The company and its subsidiaries71 have 'pledged to invest
billions of dollars across sub-Saharan African, Latin America and South East Asia, largely as part
of resource for deals in Guinea and Zimbabwe'. China Sonangol currently holds shares in 4 oil
blocks in Angola. China Sonangol is also a partner in Sonangol Sinopec International (SSI), which
is joint venture with the state-owned China Petroleum and Chemical Corporation (Sinopec).72 SSI
holds shares in 4 oil blocks. The Economist reports that China Sonangol buys oil from Angola at
a low price that was fixed in 2005 and sells it to China at today's market price - a US$50/barrel
difference (although the contract is a secret). In return, the China syndicate is involved in housing,
infrastructure, roads, railways, hydroelectric plants and other projects.73

When the price of oil dropped in 2009, the Angolan government turned to the IMF for financing
(the government owed US$9 billion in arrears to foreign construction firms in the country7') and
the IMF agree to a US$l.4 billion loan. Ironically, shortly after this agreement, Sonangol bought a
20 percent share of Marathon's stake in offshore block 32 for US$l.3 billion.75 The Sonangol Chair-
man was quoted in a Sonangol magazine as saying, ''We will add this share in block 32 to a joint
venture we have with the Chinese called China Sonangol."7'5


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POLICIES AND PRACTICES OF                                                                   the post-independence civil war -
MULTINATIONAL OIL COMPANIES                                                                 through weapons procurement, dubious
                                                                                            charitable donations, and other forms
In Angola, oil production is increasingly ta king place in deep and ultra•deep water. The   of assistance." While UNITA forces had
technology involved in drilling is complex, and the field development costs are extremely   access to diamonds, the MPLA exploited
high, as are the risks. Small players cannot participate without linking up with large      the oil revenues.
multinationals - and even Chinese companies, although partners, are not operators in
these oil concessions. Therefore, multinationals are irreplaceable and this increases       Co-operation among the oil majors
their leverage and ability to influence government policies. Beyond this, foreign           would make it difficult for the Angolan
companies have market power and technical capacity that could potentially be directed       government to threaten to or even
towards boosting Angola's overall development. Instead, in Angola, as across the globe,     expel firms on purported violation of
multinationals' influence has primarily been directed at ways to maximize their profit.     domestic laws. Instead, companies'
                                                                                            continued transactions with the
                                              Angola's multinational oil operators          government - without calling the
                                              include: Chevron (US), ExxonMobil             terms of the transactions into question
                                              (US), BP (UK), Total (France),                - has facilitated patronage problems,
                                              Petrobras (Brazil), Cobalt (US),              encouraged rent seeking and exacerbated
                                              Tullow (UK), Vaalco (US), Pluspetrol          the resource curse.
                                              (Argentina), Maersk Oil (Denmark),
                                              Eni (Italy); and those awarded licences       However, there are some exceptions.
                                              to operate in the most recent pre-salt        In 2001, BP announced that it would
                                              deep-sea concessions: Statoil (Norway)        publish its total production by block,
                                              and Repsol (Spain). Beyond these, a           its payments to Sonangol, the taxes it
                                              number of other foreign oil companies         paid to the Angolan government and its
                                              are partners in oil blocks, including:        signature bonuses. But this attempt at
                                              Galp (Portugal), SSi (China), Marathon        transparency was met with an aggressive
                                              (US), Falcon Oil (US), Prodoil                response from Sonangol and a threat to
                                              (Norway), Ajoco (Japan), Svenksa              revoke its licence. Ironically, this is the
                                              (Sweden), Tenenge (Brazil) and Partex         same level of revenue reporting under
                                              Oil & Gas (Portugal). Other companies         the US Dodd Frank Act that BP - and
                                              include Acrep, Inter Oil, Geminas,            other multinational members of the
                                              Initial Oil & Gas, Ina-Nafta, Naftagas,       American Petroleum Institute - lobbied
            companies'                        Force Petroleum, Alper Oil, Nazaki Oil        to try and prevent.
                                              & Gas, and Somoil. Chevron has the
             continued                        longest history in Angola, beginning          Among the oil majors, Norwegian
                                              its operations in the late 1950s.             companies lead in transparency efforts.
   transactions with                          Meanwhile, BP has been in Angola for          Statoil has been disclosing information,
                                              almost 40 years, Statoil for almost 20        such as that now mandated by the Dodd
      the government                          and ExxonMobil since the mid-1990s.           Frank Act, in Norway as per Norwegian
                                                                                            securities regulations. The company
     ... has facilitated                      On the whole, oil companies do not touch      uses the disclosure exemption provision
                                              governance or transparency issues in          in its Production Sharing Agreement
patronage problems,                           Angola and this has historically always       with Sonangol, whereby Sonangol will
                                              been the case. Multinational companies        authorise foreign operators to publish
     encouraged rent                          have been drilling for oil in Angola          such information if mandated by home-
                                              for decades and, in general, securing         country laws.78 Outside of the Norway,
           seeking and                        their access to the state-controlled          Angola is the largest source of oil for
                                              commodity means that they have needed         Statoil - relying on Angolan crude for over
      exacerbated the                         to remain on good terms with each             170,000 barrels of its 2 million barrels
                                              government in turn. In Angola, this           per day portfolio.19 Meanwhile, another
        resource curse.                       translated into oil financing and fuelling    Norwegian firm, Norsk Hydro, has tried


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to include anti-corruption provisions in     Production Sharing Agreements broadly        deal with spills, the Angolan government
its contracts. After singing a PSA with      require companies to support CSR             has approved oil companies' use of
Sonangol in 2005, Norsk Hydro attempted      projects, although what these projects       the chemical dispersants, Corexit and
to incorporate in its joint operating        consist of and how exactly they are          Inipo, even though there are safer
agreement a 'warranty that the parties       developed is not clear. Nor is there         alternatives available. Corexit and Inipo
would not make corrupt payments and          information on how the effectiveness         have been linked to serious neurological
a requirement that any public officials      and efficiency of the projects will be       damage and cancers and are extremely
with an ownership interest in one of         evaluated. And since Sonangol controls       hazardous to marine life. The UK's
the partners would not participate in        the use of the funds, projects related to    Marine Management Organization
governmental decisions affecting the         improving governance are highly unlikely.    banned Corexit over a decade ago; so if
venture (as already required by Angolan                                                   there were a spill in the UK's North Sea,
law)'.80 Although laudable, these efforts    The Petroleum Law also requires              BP is banned from using Corexit. But in
are singular and have not been copied by     that part of the signature bonus be          Angola, BP uses Corexit. Indeed, Corexit
others in the industry.                      earmarked for social purposes. Again,        is clearly included in the country's
                                             there is little information on how the       national oil spill plan.35
On its part, Chevron has been consist-       funds for social purposes are used, and
ently complacent in efforts to address       just like PSAs, Sonangol has the final       However, there have been some efforts
governance problems. In Cabinda, in          decision on the use of the funds, which,     recently to hold multinationals to
particular, where the company has the        again means no funding for projects to       account. Since 2009, OSISA has been
biggest presence, community groups           promote good governance.                     participating in the True Cost of
have for years been calling on the                                                        Chevron Network, and has addressed the
company to use its economic power as         Projects funded by post-tax voluntary        company's senior management, board
leverage with the Angolan government         contributions are what are normally          and shareholders about the company's
- and for years, Chevron has stated that     thought of as CSR - and it is these          operations in Angola during Chevron's
it does not get involved in democracy or     projects that are most widely promoted       annual meetings. Cabindan residents and
governance issues. 81 Chevron is the most    by multinationals. Oil companies manage      environmental groups, such as Gremio
important market player in Angola's oil      these on their own. Projects are either      ABC, have also for years demanded
industry and the oldest foreign operator.    run directly by company managers or          that Chevron end its environmental
The company has been drilling for oil in     through partnerships with NGOs and           and human rights abuses and called for
Angola since 1958, through its subsidi-      church organisations, which implement        improved compensation and revenue
ary Cabinda Gulf Oil Company. It is the      the projects. Chevron plays a leading role   distribution mechanisms. In a unique
lead operator in Angola's most profitable    in these partnership arrangements. Once      turn of events, the Angolan government,
oil blocks (namely block 0), and it is the   again, no partnerships directly address      for the first time, imposed a fine on
largest foreign oil industry employer.1.2    governance and democracy issues.             Chevron in 2002 after poorly maintained
It is one of Angola's largest oil produc-    Instead, voluntary projects focus on the     pipelines used to transport crude oil
ers, with shares in deep-water and           provision of basic services.                 from its platforms leaked. International
shallow-water oil wells and in Angola                                                     transparency watchdogs like Global
LNG. The company also invests mil-           On the protection of the environment         Witness have also called out the majors,
lions of dollars in CRS projects, but none   and mitigation of impacts, multinationals    including BP, for failure to disclose
of this money is directed at democracy       operating in Angola get a free pass.         payments to the Angolan government.
building initiatives.                        The Ministry of Environment lacks the
                                             technical, resource and staff capacity to    Still, multinationals in Angola have
However, Chevron is not the exception.       properly monitor the oil industry. Local     not found themselves ensnared in
Multinationals often tout their CSR          capacity is so weak that the oil industry    major international human rights or
projects as a means of improving the         practically writes the environmental         environmental scandals, or litigation
livelihoods of the communities where         laws and monitors its own activities and     - unlike in other countries where they
they operate. In Angola, multinationals      impacts. And although multinationals         operate. The majority of Angola's oil
contribute to social activities through      may claim that they follow global            reserves are offshore reducing their
three different channels, two of which       environmental, health and safety             accessibility and visible impact and
are required by law and one of which         policies, they often take advantage of       requiring much less security to protect
is voluntary:84                              weak host-country laws. For example, to      the facilities than is required, for


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example, by Shell or Chevron in their         for contracts awarded to build liquefied      either of these companies in the past,
onshore fields in Nigeria. In addition,       natural gas facilities in Nigeria.87          and, therefore, our familiarity with these
the majority of Angolans are uninformed                                                     companies is limited'. 88 As previously
about the realities of the oil industry and   Similarly, Cobalt International Energy        stated, Nazaki Oil & Gas is owned by
its impacts on governance, corruption,        disclosed a potential FCPA violation          the (now former) Chairman and CEO of
the environment and human rights.             in its March 2011 lOK report filed with       Sonangol, and by the Minister of State,
                                              the SEC, suggesting that the company          and his top lieutenant.89
Multinationals may on the whole be            was forced by the Angolan government
skirting by governance issues in Angola,      to partner with two local oil and gas         For multinationals operating in Angola,
but they are increasingly - albeit slowly -   exploration and production companies          the standard assumption should be
being called to task by their home country    (Alper Oil and Nazaki Oil & Gas) that         that 'good' institutions are in their best
governments in relation to corruption         Cobalt knew nothing about, stating 'In        interest. Instead, multinationals, for
allegations. For example, the US Foreign      connection with entering into our Risk        the most part, are choosing to actively
Corrupt Practices Act (FCPA) was              Services Agreements for blocks 9 and          perpetuate rent seeking and patronage
enacted to counter the bribery of foreign     21 offshore Angola, two Angolan-based         systems. Instead of seeing this as a
officials. The anti-bribery provisions        E&P companies were assigned as part           collective problem, there is collective
of the FCPA make it 'unlawful for a US        of the contractor group by the Angolan        complacency and collective avoidance of
person and certain foreign issuers of         government. We had not worked with            governance issues.
securities to make a payment to a foreign
official for the purpose of obtaining
or retaining business for or with, or           CHEVRON IN ANGOLA
directing business to, any person'. Since
1998, the anti-bribery provisions also          In 2002, Chevron launched the Angola Partnership Initiative (API) - incidentally,
apply to 'foreign firms and persons who         two years before a major decrease in USAID's funding for humanitarian assistance
take any act in furtherance of such a           to Angola. Chevron allocated U5$25 million for the five-year duration of the
corrupt payment while in the United             programme. In its reporting on the Initiative, Chevron states it 'chose to treat
States'. The Department of Justice (DOJ)        API as not just a responsibility but also an investment that could serve to deepen
has jurisdiction over all related criminal      stability and build capacity in the host country'. The company claims 'API also
violations under the act, and the SEC           strengthened Chevron's reputation within the United States government'. 83
tracks civil violations committed by            To a company that made a profit of US$27 billion in 2011, US$25 million over
US companies. Companies have found              a five-year period is a paltry amount. But this small contribution was worth
that the most effective way to mitigate         a tremendous amount in terms of the company's public relations efforts. In
punishment and lessen penalties is              particular, it helped to:
through self-disclosure. So rather than
being dragged into a high-profile court         (1) Secure a 'social license' to operate in Angolan communities
case, companies will settle out of court.           without fear of sustained local protest;
                                                (2) Present itself globally as a company that cares; and
Texas-based oil and gas services giant          (3) Associate itself with American democratic values despite
Halliburton, as per its disclosure to               contributing to an autocratic regime in Angola.
the DOJ and the SEC, is currently
conducting an internal investigation into       Following the five-year Initiative, Chevron's CSR has become much wilier.
possible FCPA violations in Angola after        Chevron has shifted from a regional focus to a national focus. And the company
the company received an anonymous               has shifted its 'philanthropic' giving to a 'development model' of assistance
email in December 2010 alleging FCPA            - meaning that Chevron is creeping into spaces traditionally occupied by
violations 'principally through the             development organisations, engaging in capacity building initiatives while really
use of an Angolan vendor, including             ensuring the community's dependency on the company. By expanding nationally
conflicts of interest and self dealing'.86      to regions outside the company's geographical sphere of operations, Chevron is
In February 2009, Halliburton paid out          also buying broad community acceptance and cementing its favourable relations
US$579 million to settle FCPA violations        with the government - especially by addressing development and reconstruction
after pleading guilty to paying Nigerian        needs in areas where the government is largely absent.
officials at least US$182 million in bribes


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OIL INDUSTllY AND ENVIBONMBNTALJUSTICE
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haw been vay poorly addrelaed.
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PROJECT CYCLE IMPACTS                                               cuttings into the ocean.92 The older the well, the more produced
                                                                    water it will generate. These produced waters contain
Fishing communities and residents along the Angolan coast           hydrocarbons that are dangerous to marine life. As previously
claim that oil spills from offshore facilities are constant.        mentioned, there is no adequate government monitoring of
Anecdotal information abounds. However, hard data is difficult      hazardous waste disposal, or public information about the
to obtain and there do not appear to be any estimates of            amount of hazardous waste produced.
spillage - at least none that are publicly available. The Angolan
government and oil companies do not necessarily report all          Companies in Angola also employ hydraulic fracturing to
spills, while some spills are underreported and others are          increase production. Hydraulic fracturing injects water and
reported long after the fact. The source of the spills is also at   chemicals Oike 2-butoxy ethanol, benzene and others) into
times unclear. For example, Chevron will sometimes claim that       wells at high pressure to fracture subsurface rocks and push oil
spills reaching Cabindan waters originate in the Democratic         and gas to the surface. Fracturing can challenge the structural
Republic of Congo (DRC) or the Republic of Congo. Chevron           stability of aquifers and can provoke saltwater intrusion. For its
claims to have the capability to conduct environmental              fracturing activities, Halliburton uses 2-butoxy ethanol, which
'fingerprinting' analysis - a technique for identifying the         is odourless and tasteless in low concentrations. This process can
composition and origin of oil.90                                    potentially endanger domestic water wells near fracturing sites.93

Angola has not suffered a major oil disaster since 1991, when       Gas flaring is also used by operators in Angola as a means of
260,000 tons of oil spilled into the ocean after the ABT            getting rid of gas that is released as an associated by-product of
Summer oil tanker exploded 1,300 kilometres off the coast.          oil production. Gas flaring produces greenhouse gas emissions,
There was no clean-up of the spill, as it was believed that the     including carbon dioxide, methane, sulphur dioxide, nitrogen
high seas would disperse the oil naturally. Since then, there       dioxide, and other carcinogens. The most recent figures show
have a number of smaller spills, including the 1999 spill at the    that Angola flared 3.1 billion cubic meters of gas - or 69 percent
Malongo terminal, which resulted in Chevron compensating            of its production - in 2008.114 The 5-million-tons per year LNG
victims with around US$2,000, and the aforementioned                plant near Soyo was built to capture and market this natural gas.
Chevron spill in 2002, when poorly maintained pipelines used
to transport crude from the platforms leaked, leading the           For LNG, the liquefaction of natural gas involves the freezing of
government to impose a US$2 million fine on the company.            liquid gas so it can be shipped to markets in refrigerated tankers,
Other reported spills at Chevron facilities include one in          where it can be warmed back into a gas to be injected into local
August 2010, another in February 2011 (4,000 barrels at its         pipelines. Although the impact ofleaked oil exceeds the impact
Malongo base) and yet another in December 2011. Many more           ofleaked gas and although gas does not contribute as much as oil
spills go unreported, as per local anecdotal information.           to global warming, the potential risk of an explosion at the LNG
                                                                    terminal - given that natural gas is highly flammable and that
Beyond oil spills, artisanal fisher folk in Cabinda have            there is a genuine risk of tanker collisions - is real. Yet this has
complained that seismic testing has also driven away the fish.      not been fully disclosed to local Soyo residents.
Operators perform seismic testing during the oil exploration
phase. It involves a series of high-intensity and low frequency     HEALTH AND ECOSYSTEM IMPACTS
sounds emitted to develop graphic representation of
subterranean oil deposits. For marine creatures, it can be akin     Oil seeps, leaks and spills release polycyclic aromatic
to a cannonball blast next to the eardrum. Seismic testing can      hydrocarbons (PAHs) and other volatile components into the
disturb migration patterns, damage the auditory capacity of         marine environment in high concentrations. PAHs are some of
certain fish species, harm shellfish and drive away fish.91         the most persistent and toxic components in crude oil. Volatile
                                                                    components of oil can burn eyes and skin, and irritate or damage
The exploration and production phase both generate waste in         sensitive membranes in the nose, eyes and mouth. Hydrocarbons
the form of metal cuttings, drilling fluids and produced water.     can trigger pneumonia if they enter the lungs. Benzene and other
Drilling fluids (or drilling muds) are used for the lubrication     light hydrocarbons can damage red blood cells, suppress immune
and cooling of the drill bit and pipe. They can release toxic       systems, and strain the liver, spleen and kidneys. Oil workers in
chemicals, like methyl mercury, that can also affect marine         particular are at risk of injury and chronic disease from exposure
life and bio-accumulate in fish. One drilling platform normally     to PAHs and other chemicals, such as cadmium, arsenic, cyanide
drills between seventy and one hundred wells and discharges         and lead. People who clean up shorelines from oil spills are also
more than 90,000 metric tons of drilling fluids and metal           at risk of injury. Residents in Cabinda have complained of rashes


                                                                                                              An90/o's oil fndustryoperotlons   4>
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and respiratory problems.95 This may or may not be related to oil   water and oxygen depletion, which harm various species. The
exposure - since there have not been any public health studies      Benguela Current is also characterized by currents, which
conducted in Angola's main oil producing regions to help make       rapidly dissipate pollution.
that determination.
                                                                    In the absence of unbiased scientific testing and laboratory
In terms of marine life, chronic exposure to PAHs can shorten       facilities, however, it is difficult to determine what is depleting
life spans, interrupt important breeding physiology and             the fish populations. For example, if a spill occurs and Chevron
behaviour, and result in population level effects. In Cabinda,      accepts responsibility (following their 'fingerprinting' test)
there is concern about the degradation of mangroves. In             then the company will collect water and fish samples, which
the village of Landana - the location of the largest regional       are sent to overseas laboratories of their choice since there are
mangroves - Chevron and the Ministry of Environment have            no laboratories in Angola equipped for that level of testing.
done studies, including water sampling, to determine the cause      Chevron has not made the results of these tests publicly
of mangrove degradation, but with no clear conclusion.              available. Chevron did commit itself to establishing a water-
                                                                    testing laboratory in Cabinda following the 2002 spill, but to
As with the majority of environmental problems along the            date, the laboratory is still not operational.
northern coast, there have been no independent studies
conducted. Similarly, communities complain of crops drying          Interestingly, in September 2007, BP began the DELOS
up. Hydraulic !racking offshore in Cabinda, and onshore             project - with the aim of understanding the deepwater areas
and offshore in Soyo could lead to a salinisation of crops.         around BP facilities, particularly block 18. The project will
But again, no independent scientific studies have ever been         monitor the ocean floor for 25 years. The DELOS project
conducted in the region.                                            is led by the University of Aberdeen. Other vessels, which
                                                                    are funded by the Norwegian aid agency Norad, are also
FISHERIES                                                           monitoring deep-sea fish stocks, as fisheries are of great

The depletion of fish stocks is the leading complaint about oil
operations in the northern provinces. Artisanal fisher folk
in Cabinda insist that there has been a steady decline in fish
stocks for the better part of a decade. They claim that they
now have to travel much further out to sea, only to return
with a small catch. Fisher folk attest that explosive charges
from seismic testing have affected fish in the area. They
complain that oil spills are far more frequent than the region's
main operator, Chevron, formally reports and that these
have contributed to a decline in fish stocks. They also contest
the limitations the government and companies have set that
prevent fishing near oil platforms. The government contends              The depletion offish stocks
this is a preventative security measure.
                                                                           is the leading complaint
In response, the Angolan government has claimed that
industrial fishing is responsible for the depletion in stocks.               about oil operations in
Another theory is that the number of artisanal fishermen
has increased. If there is an increase in the number of people              the northern provinces.
fishing, this may be due in part to an increase in the number
of people registered with the Institute for the Development
of Artisanal Fishers and Aquaculture (IPA) - the main
government body dealing with artisanal fisheries, and not
necessarily to an increase in the actual number of artisanal
fisher folk. Chevron has incentivised registration by favouring
those who are registered when doling out compensation
following a spill. Yet another theory points to the Benguela
current and climate change contributing to nutrient poor


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                    OIL AND ECONOMIC EMPOWERMENT
                    OF LOCAL COMMUNITIES
                    In Angola, economic empowerment starts with information - information about oil
                    revenues and communities' entitlement to these revenues, and information about
                    titizens' economic and social rights.

                    Oil producing-provinces of Zaire and Cabinda are entitled to 10 percent of the
                    revenue from taxes collected on the oil produced in each province. Payments are
                    made directly by oil companies, via the Ministry of Finance. But these transfers are
                    not commensurate with the amount of oil produced. For example, basing calculations
                    on the most prolific oil blocks, in 2011, Blocks 0 and 14 in Cabinda province yielded
                    a total ofl.08 trillion Kwanzaa in ordinary revenue, while Blocks 15 and 17 in Zaire
                    province yielded a total of 2.2 trillion Kwanzas in ordinary revenue.96 However, in
                    2011, total annual transfers to Cabinda were budgeted at 0.95 percent of total regional
                    transfers - equal to 39 billion Kwanzas, while total annual transfers to Zaire province
                    were budgeted at 0.39 percent of total regional transfers - equal to just 16 billion
                    Kwanzas.,., Therefore, an effective economic empowerment programme would need
                    to begin by calculating exactly how much revenue the most affected provinces are
                    entitled to, and subsequently - through budget monitoring training- analyse how
                    provincial and municipal governments are spending it.

                    Although corruption concerns dominate the national oil advocacy landscape, most
                    civil society engagement around oil impacts and beneficiation has been confined
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to the province of Cabinda, where the          ANGOLA AND DUTCH DISEASE
majority of the offshore oil is being
produced. Compared to the rest of              Broadly speaking, Dutch Disease refers to the decline of other economic sectors -
the country, Cabinda's population              usually manufacturing and agriculture - associated with the increased exploitation of
is naturally more engaged on the               natural resources. The basic premise is that increased resource revenue will inflate the
issues, as they bear the burden of oil         value of the local currency and make other exports less competitive, while at the same
extraction and because they supposedly         time, economic emphasis on that sole sector will undermine development in other sec-
receive additional benefits in the form        tors. Angola is vulnerable to Dutch Disease - as are other oil producers that are depend-
of extra revenue, employment and               ent on oil-backed consumption booms, especially when oil prices decline. In the summer
social services. This is typical of oil        of 2009, Angola turned to the IMF because the plummeting price of oil was threaten•
production across the globe, where             ing the country's balance of payments.
the localised tensions created by the
industry are often not shared with             Nigeria is a classic example of a resource   in public discourse, but the government
the rest of the country. It becomes a          boom gone wrong. A narrow economic           is doing little to incentivise growth.
marginalised issue, and the struggles          focus on oil exploitation through the
and protestations of the local population      latter half of the last century led to a     SOVEREIGN WEALTH FUNDS
are ignored, minimised and sometimes           steep decline in agriculture and other
framed by the national government as           economic sectors - with the result that      Many resource-rich countries and re-
impediments to development.                    the country's GDP today is actually in the   gions have established sovereign wealth
                                               range of what it was in the 1960s. While     funds and stabilisation funds to combat
According to OSISNs own national               there has been little net gain in overall    Dutch Disease. The idea is to set aside
survey on citizens' perceptions about          national wealth, considerable wealth has     part of the earnings from oil production,
natural resource and transparency,             been - and is being - generated but it is    which can be invested abroad or held
Angolans are under-informed about the          concentrated around the oil industry,        in bonds and which can be drawn from
massive amount of money generated by           leaving the vast majority of the country     when oil income falls.99 When asked how
the extractive industries and about the        much worse off than before the resource      to avoid the booms and busts of the com-
massive amount that is siphoned off. 911 Few   boom. Conversely, Norway is cited as a       modity cycle, Chile's Finance Minister
Angolans make the link between poverty,        role model for avoiding Dutch Disease.       said, "Spend that which is permanent
oil revenue distribution and high-level        The Norwegian government has used            and save that which is transitory."100
corruption. when asked what problems           its resource rents to expand the public
the government should resolve in the near      sector, adopted labour market policies       In November 2008, President dos Santos
future, poverty and unemployment were          to avert a decline in the manufacturing      announced the creation of Angola's
at the forefront of people's concerns - not    sector, and set up the Government            own sovereign wealth fund, Fundo
transparency or corruption.                    Pension Fund - a sovereign wealth fund       Soberano Angolano (FSA), which was
                                               - with some of its oil profits.              praised by the IMF. In theory, the FSA
Therefore, an economic empowerment                                                          will be sourced from oil revenues,
programme at the local level should            In Angola, avoiding Dutch Disease would      specifically from all revenues over US$58
start here - by addressing community           entail constraining political patronage,     a barrel. It is expected that the FSA will
concerns about poverty and                     increasing public spending, and              replicate the investment strategy of
unemployment and making the linkages           growing the non-oil economy. However,        Norway's Government Pension Fund by
to unfair oil revenue distribution.            currently, the government doles out oil-     purchasing small stakes of common stock
Arming communities with knowledge              backed patronage to a small number of        in international companies - and the
about their economic and social rights,        supporters, rather than delivering proper    Norwegian government has supported
their rights to access information (and        public services to the population as a       Angolan in planning this.
how to access this information), their         whole. Public spending from oil revenues
public entitlements and the realities          is centred on large infrastructure           Yet the FSA is no guarantee against
about oil revenues would help to foster        projects with a low rate of return and       corruption. Indeed, it could just
a genuine national debate on the oil           shady procurement processes - with few       perpetuate corruption if it is not set
industry and generate public demand            funds going toward social spending and       up with appropriate accountability
for the fairer distribution of its wealth      households. Growing the non-oil sector -     mechanisms in place. As it stands,
and benefits.                                  agriculture, in particular - does feature    the FSA would be accountable to the


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president. Additionally, Sonangol already    development of impartial institutions.     goods. Unreliable electricity, poor
operates much like a sovereign wealth        Economists, such as Paul Collier, point    transport networks, and limited access
fund by reaping money through dubious        to three policies to grow the non-oil      to finance have pushed up the cost of
oil-related transactions and investing it    economy.en - namely de-tax the non-oil     local production, so that it is still cheaper
around the world. For example, China         economy, encourage SMEs and support        to import goods at skyrocketing prices
Sonangol is a joint venture between          the agricultural sector.                   than it is buy them from local sources.
Sonangol and private investors based                                                    Small-scale farmers have reverted to
in Hong Kong, and the company has            The private sector in Angola remains       subsistence farming, and two thirds of
committed itself to investing billions       excessively regulated in order to          the population is reliant on subsistence
of dollars across Africa, Latin America      facilitate taxation. The corporate         agriculture for food, income and
and Southeast Asia. Until September          income tax is 35 percent. But Angola       employment. As such, development of
2011, Manual Vicente (the Chairman           does not need to raise tax revenue from    the agricultural sector holds far greater
of Sonangol) served as the Chairman          sectors other than oil and diamonds.       importance for the majority of people
of China Sonangol. Where the Angolan         Deregulation would support the growth      than the oilrigs offshore.
government is concerned, keeping money       of micro, small and medium-sized firms.
outside the country is hardly a guarantee                                               The Ministry of Agriculture has stated
of transparency. So, if not a sovereign      Support for SMEs would not only            it is keen to encourage colonial-era
wealth fund, what then?                      diversify the economy, it would            'cash crops' alongside essential staple
                                             create employment, and grow the            crops for domestic consumption. And
As mentioned earlier, constraining           economic and political power of the        a US$1.2 billion loan from the China
Angola's political patronage will            non-oil private sector. Interestingly,     Development Bank in 2009 was supposed
involve setting up systems to contain        the government recently announced          to finance agricultural development
corruption and ensure transparency           that it would distribute some US$220       over the following four years. But it is
and accountability. These checks and         million as investment credits for SMEs     unclear whether this financing even came
balances include the transparency of         and provide incentives and training -      through - let alone what it might have
public revenues and expenditures, a          through the newly created Programme        been used for. What is more, while the
free and informed media, an informed         for Development of Small and Medium        country relies heavily on food imports,
citizenry and a vibrant civil society.       Enterprises. The funds will be made        the government has set its sights on the
But public officials in Angola are           available to the two state banks to        development ofbiofuels - calling into
currently benefiting too greatly to set up   support small businesses. Although         question the allocation of fertile land for
legitimate checks and balances, while        a positive step, it is unclear how the     crops that are not intended to produce
the government is doing little to invest     programme will be operationalized,         food for domestic consumption. In March
in social spending and ensure a fair         or how it will fit into the approved       2010, the government passed a law
distribution of oil revenues. Finally, the   national budget.                           regulating the country's biofuel industry.
Angolan government could take broad                                                     The law stipulates that foreign companies
steps to grow the non-oil economy,           Oil and war explains why once big          producing biofuel in Angola will have to
but seems unwilling to do so and risk        employers, such as coffee, cotton and      sell some of the product to Sonangol to
relinquishing economic control.              maize, have been neglected since           supply the local market.102
                                             independence. Oil production is an
DIVERSIFYING THE ECONOMY                     enclave economy in Angola with few         Finally, with Angola importing
                                             links to the rest of the economy. Before   huge amounts of food for domestic
Diversification of oil-dependent             oil took over as Angola's primary export   consumption it has been claimed
economies is of great concern to new         in the early 1970s, Angola depended on     that various members of the political
oil producing countries across Africa,       agricultural products, such as coffee,     elite have heavily vested interests
such as Uganda and South Sudan, which        sugarcane, bananas and palm oil. These     in the importation business. These
are looking to their peers in Algeria,       provided a great source of employment      powerful individuals stand to lose from
Mauritania, Botswana and South Africa        and the country was self-sufficient in     Angola growing increasingly self-
for successful diversification strategies.   most foods. Today, the agricultural        sufficient in food.103
Diversification of Angola's economy          sector accounts for less than 10 percent
would not only reduce Dutch Disease, it      of Angola's GDP and the country imports
would reduce rent seeking and spur the       about 80 percent of its consumable


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                             institutionalised




CONCLUSION

 :   .                                                                  are put in place. Recent events in
                                                                        Angola show that if the circumstances
                                                                        are right, external actors can help
                                                                        to kick-start the process of reform.
                                                                        NGOs, international organisations,
                                                                        and .some foreign governments have all
                                                                        played a role in pressing the Angolan
                                                                        government to make itself more open.
                                                                        In initiating the process of building
                             A well-functioning governance system       checks and balances, pressure from
                             involves political, economic and           overseas complemented the activities
                             legal constraints designed to limit        of Angolan civil .society. Transparency
                             misconduct by those in power. In           is necessary for accountability. But the
                             Angola, people are poor because the        ultimate constraint on any government
                             country's institutions are dysfunctional   - democratic or authoritarian - is its
                             and have not provided the needed           citizenry, the power of the people.
                             checks and balances. Corruption is         Transparency informs the citizenry
                             just a symptom of the deeper malady        of abuses. It does not in and of itself
                             of weak, failed or missing institutions.   solve corruption, but it goes a long way
                             A kleptocracy is unlikely to reform        towards speeding up the search for a
                             itself voluntarily. It must be prodded.    solution. By building up knowledge, and
                             Even if the government does change,        broadly disclosing information, about
                             it may not be replaced by a better one     government misdeeds, transparency can
                             unless sound governance institutions       empower the citizenry to take action.
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                                                          dioxides, and other carcinogens. The most recent        40. As per Dispatches 29/96 of March 8th and
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                                                   LIST OF ABBREVIATIONS
                                       APE SCAB    Associa~ao dos Pescadores de Cabinda
                                            API    Angola Partnership Initiative
                                            BAI    Banco Africano de lnvestimento
                                           BNA     Banco Nacional de Angola
                                           CEO     Chief Executive Officer
                                          CITIC    China International Trust and Investment Corporation
                                            CRS    Corporate Social Responsibility
                                           DFID    Department for International Development
                                           DOJ     Department of Justice
                                            EIA    Environmental Impact Assessment
                                           EMS     Environmental Management System
                                            EITI   Extractive Industries Transparency Initiative
                                          FCPA     Foreign Corrupt Practices Act
                                            FSA    Fundo Soberano Angolano
                                            IMF    International Monetary Fund
                                            IMT    Incident Management Team
                                            IPA    lnstituto de Pesca Artesanal e Aquicultura
                                          MPLA     Movimento Popular de      Liberta~ao   de Angola
                                         Min pet   Ministry of Petroleum
                                           NGO     Non-Governmental Organization
                                           NPD     Norwegian Petroleum Directorate
                                          OPEC     Organization of the Petroleum Exporting Countries
                                           PAH     Polycyclic Aromatic Hydrocarbons
                                            PLD    Presidential Legislative Decree
                                            PSA    Production Sharing Agreement
                                           QFA     Quasi-Fiscal Activities
                                          SADC     Southern African Development Community
                                            SEC    Securities and Exchange Commission
                                          SllND    Sonangol lnvestimentos lndustriais
                                        Sinopec    China Petroleum and Chemical Corporation
                                           SME     Small and Medium Enterprises
                                       Sonangol    Sociedade Nacional de Combustrveis de Angola
                                          Sonip    Sonangol lmobili~ria e Propriedades
                                             SSI   Sonangol Sinopec International
                                            UK     United Kingdom
                                          UNDP     United Nations Development Program
                                         UN FCC    United Nations Framework Convention on Climate Change
                                         UNITA     Uni!lo Nacional para a lndepend~ncia Total de Angola
                                             us    United States of America
                                         USAID     United States Agency for International Development
                                       VOPESCA     Voz do Pescador



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